Case 2:23-cv-02155-ODW-PD Document 19-2 Filed 06/09/23 Page 1 of 23 Page ID #:263




   Casablanca Design Center, Inc., v. Closets by Design, et al.
   U.S. District Court for the Central District of California




                           EXHIBIT
                              6


                                                   78
Case 2:23-cv-02155-ODW-PD Document 19-2 Filed 06/09/23 Page 2 of 23 Page ID #:264

       Screenshots of Some of Closet by Design’s Franchisee’s Promotional Page




            https://centralalabama.closetsbydesign.com/




           https://palmbeach.closetsbydesign.com/




           https://fresno.closetsbydesign.com/




            https://neworleans.closetsbydesign.com/



                                                                         Exhibit 6
                                                 79
Case 2:23-cv-02155-ODW-PD Document 19-2 Filed 06/09/23 Page 3 of 23 Page ID #:265




   Casablanca Design Center, Inc., v. Closets by Design, et al.
   U.S. District Court for the Central District of California




                           EXHIBIT
                              7


                                                   80
Case 2:23-cv-02155-ODW-PD Document 19-2 Filed 06/09/23 Page 4 of 23 Page ID #:266




                                                                   Exhibit 7
                                       81
Case 2:23-cv-02155-ODW-PD Document 19-2 Filed 06/09/23 Page 5 of 23 Page ID #:267




                                                                    Exhibit 7
                                       82
Case 2:23-cv-02155-ODW-PD Document 19-2 Filed 06/09/23 Page 6 of 23 Page ID #:268




                                                                     Exhibit 7
                                       83
Case 2:23-cv-02155-ODW-PD Document 19-2 Filed 06/09/23 Page 7 of 23 Page ID #:269




                                                                      Exhibit 7
                                       84
Case 2:23-cv-02155-ODW-PD Document 19-2 Filed 06/09/23 Page 8 of 23 Page ID #:270




                                                                     Exhibit 7
                                       85
Case 2:23-cv-02155-ODW-PD Document 19-2 Filed 06/09/23 Page 9 of 23 Page ID #:271




   Casablanca Design Center, Inc., v. Closets by Design, et al.
   U.S. District Court for the Central District of California




                           EXHIBIT
                              8


                                                   86
Case 2:23-cv-02155-ODW-PD Document 19-2 Filed 06/09/23 Page 10 of 23 Page ID #:272




                                                                       Exhibit 8
                                        87
Case 2:23-cv-02155-ODW-PD Document 19-2 Filed 06/09/23 Page 11 of 23 Page ID #:273




                                                                          Exhibit 8
                                        88
Case 2:23-cv-02155-ODW-PD Document 19-2 Filed 06/09/23 Page 12 of 23 Page ID #:274




   Casablanca Design Center, Inc., v. Closets by Design, et al.
   U.S. District Court for the Central District of California




                           EXHIBIT
                              9


                                                   89
Case 2:23-cv-02155-ODW-PD Document 19-2 Filed 06/09/23 Page 13 of 23 Page ID #:275




                                                                      Exhibit 9
                                        90
Case 2:23-cv-02155-ODW-PD Document 19-2 Filed 06/09/23 Page 14 of 23 Page ID #:276




                                                                      Exhibit 9
                                        91
Case 2:23-cv-02155-ODW-PD Document 19-2 Filed 06/09/23 Page 15 of 23 Page ID #:277




                                                                     Exhibit 9
                                        92
Case 2:23-cv-02155-ODW-PD Document 19-2 Filed 06/09/23 Page 16 of 23 Page ID #:278




                                                                       Exhibit 9
                                        93
Case 2:23-cv-02155-ODW-PD Document 19-2 Filed 06/09/23 Page 17 of 23 Page ID #:279




                                                                     Exhibit 9

                                        94
Case 2:23-cv-02155-ODW-PD Document 19-2 Filed 06/09/23 Page 18 of 23 Page ID #:280




                                                                         Exhibit 9
                                        95
Case 2:23-cv-02155-ODW-PD Document 19-2 Filed 06/09/23 Page 19 of 23 Page ID #:281




                                                                     Exhibit 9

                                        96
Case 2:23-cv-02155-ODW-PD Document 19-2 Filed 06/09/23 Page 20 of 23 Page ID #:282




                                                                     Exhibit 9

                                        97
Case 2:23-cv-02155-ODW-PD Document 19-2 Filed 06/09/23 Page 21 of 23 Page ID #:283




                                        98                            Exhibit 9
Case 2:23-cv-02155-ODW-PD Document 19-2 Filed 06/09/23 Page 22 of 23 Page ID #:284




   Casablanca Design Center, Inc., v. Closets by Design, et al.
   U.S. District Court for the Central District of California




                           EXHIBIT
                             10


                                                   99
Case 2:23-cv-02155-ODW-PD Document 19-2 Filed 06/09/23 Page 23 of 23 Page ID #:285




                                       100                              Exhibit 10
